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O'Brien,
(MDE)
 From: Marcia
Collier,
(MDE)
 To: ; Kristina
   Subject:              RE: Complaint CAP question
   Date:                 Wednesday, November 4, 2020 12:03:16 PM
   Attachments:          image010.pnq
Leng
  imageOi
image
  12.ena
                         image013.png
                         image014.png


                         image002.ena
                         image003.png




   | know.


   Sincerely,


   Marcia O’Briew, Ed S.
   State Complaint Coordinator
   Office of Special Education
   608 West Allegan Street
   Lansing, MI 48909
   (517) 241-7507
   OBri          5   @michi




     LETS STAY SAFETOGETHER




   From: Mcintyre, Rebecca (MDE) <MclIntyreR1@michigan.gov>
   Sent: Wednesday, November 4, 2020 12:02 PM

   To: O'Brien, Marcia (MDE) <OBrienM6@michigan.gov>; Collier, Kristina (MDE}
   <CollierK1@ michigan.gov>
   Subject: RE: Complaint CAP question


   Undo, undo, undo!!!


   Rebecca Mcintyre, Supervisor
   Office of Special Education

   Michigan Department of Education
   517-290-6430




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            Case 1:22-cv-00838-RJJ-PJG           ECF No. 86-33, PageID.2141             Filed 04/10/25      Page 3
                                                          of 7

              From: O'Brien, Marcia (MDE) <OBrienMmichigan.
                                                  6@        goy>
              Sent: Wednesday, November 4, 2020 11:34 AM
              To: Mcintyre, Rebecca (MDE) <McintyreR1@ michigan.gov>; Collier, Kristina (MDE}
              <CollierK1@michigan.gov>

              Subject: RE: Complaint CAP question


              Agree we are vague. Our district level corrective actions used to be more robust, but then when PR
              took those over, we were asked to align our language to the language they utilized. UGH.


              Sincerely,


               Marcia O’Briew, Ed S.
              State Complaint Coordinator
              Office of Special Education
              608 West Allegan Street
              Lansing, MI 48909
              (517) 241-7507
              OBrienM6@michigan.gov




                LET'S STAY SAFETOGETHER




              From: Mcintyre, Rebecca (MDE) <McintyreR     1@michigan.goy>
              Sent: Tuesday, November 3, 2020 2:53 PM
              To: Collier, Kristina (MDE) <Collierk1@michigan.gov>; O'Brien, Marcia (MDE)
              <OBrienM6@michigan.gov>

              Subject: RE: Complaint CAP question


a
What we will need is to provide training for ISDs....when we take this over. | have a vision!


              Now stop working!


              Rebecca Mcintyre, Supervisor
              Office of Special Education

              Michigan Department of Education
              517-290-6430




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Case 1:22-cv-00838-RJJ-PJG                ECF No. 86-33, PageID.2142               Filed 04/10/25       Page 4
                                                   of 7



  From: Collier, Kristina (MDE) <CollierK1@     michigan.gov>
  Sent: Tuesday, November 3, 2020 2:43 PM
  To: Mcintyre, Rebecca (MDE) <McintyreR1@michigan.goy>; O'Brien, Marcia (MDE}

  <OBrienMé@michigan.gov>
  Subject: RE: Complaint CAP question


  Thanks for the feedback, Rebecca. | will work with Lynn on these CAPs.


  | look forward to more discussion about CAPs. I’m wondering if there is a need to be morespecific in
  our language when we're writing CAPS? Because we don’t do the close out, | don’t think our case
  managers really process what exactly is needed tofulfill what is being ardered. Far both of these
  CAPs, the wording was almost identical (see below) and involves the district notinitiating the special
  education evaluation pracess for the students.
        (The District fulfills its ongoing child find obligation to identify, locate and evaluate students who
  are suspected of having a disability and in need of special education.) (Affarding the Student the
  procedural safeguards contained in the IDEA's discipline provisions far students not determined
  eligible for special education.) ( Not suspecting the Student might be a student with a disability and
  in need of special education.)
  So, when the ISD asks if they need to verify comprehensiveness of an evaluation as part of these
  CAPs, is that an ISD training issue or a CAP writing issue? What would we need to see in order
  for the district to verify they are initiating the child find process when needed?
  Just some thoughts for now. No need to respond to any of my questions. We can discuss when
  we meet about CAPs later.
  Have a great day!


  Kriptine Collier
  Coach and Training Coordinator
  Michigan Department of Education
  Office of Special Education
  P:    517-335-0442
  F:    517-241-7141

  E: CollierK1@michigan.goy
  A: 608 West Allegan Street, Lansing, MI 48933

  oo00




       LET'S STAY SAFETOGETHER




  From: Mcintyre, Rebecca (MDE) <McintyreR          1@michigan.goy>
  Sent: Tuesday, November 3, 2020 1:30 PM
  To: O'Brien, Marcia (MDE) <OBrienM6@michigan.gov>; Collier, Kristina (MDE}
  <CollierK1@michigan.gov>

  Subject: RE: Complaint CAP question
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  | would say with a complaint CAP, the aspect of child find which must be verified will depend on the
  the final decision. What were the issues specifically that resulted in identified noncompliance? If we
  determined an evaluation was not comprehensive then when doing a file review the ISD would need
  to look in the file and determine whether the evaluations far the 8 students were comprehensive. If

  the comlaint identified they didn’t use a variety of tools, or they did have a basis of knowledge then
  that is what would be verified.


  This is very specific to us and again we understand our work best and so think we need to take this

  back. | emailed Jessica with my proposal and asked to talk with her about it this week.


  Rebecca Mcintyre, Supervisor
  Office of Special Education

  Michigan Department of Education
  517-290-6430




         On




    LET'S STAY SAFETOGETHER




  From: O'Brien, Marcia (MDE) <OBrienMmichigan.
                                      6@        goy>
  Sent: Thursday, October 29, 2020 11:28 AM
  To: Collier, Kristina (MDE) <CollierK1@michigan.gov>; Mcintyre, Rebecca (MDE)
  <MclntyreR1@ michigan. gov>

  Subject: RE: Complaint CAP question


  Sorry I’m pulling you in to yet another thing, Rebecca, but the question below is fram Lynn Delpy and
  two of the complaints she is referring to (19-0188 and 19-0189) are Kalamazoo Public CAP clase out

  questions. For 19-0188, the District submitted on 9/28 and then again on 10/13 — it was due fram
  the District 9/1. The ISD (Tori Wentela) submitted for closeout on 10/27/20 — it was really due fram
  the ISD 10/1, but of course they didn’t have it yet from the district. This is an example ofissues with
  the timeline. Our final decision went out November 8, 2019, but the CAP was not created until

  12/11/19, which makes me think our CAP team (Lynn Delpy) would not consider requesting an UNC
  until 13 months after the final decision was issued.


  What’s more is these are George White complaints. As we have SO much histary of issues with

  Kalamazoo, | would say we need to expect more, nat less of the district, when reviewing child find
  documents. Sa when she asks the following, my gut would be to sayif the evaluation was not
  comprehensive — we would not accept it as a verification that child find obligations were met.
           The ISDs are wondering if when closing out are they looking for documentation that Child

           Find obligations mean the district followed the child find procedures correctly whether or
           not they found the student eligible or does in include that during the evaluation did the
           district complete the evaluations correctly in order to find the student eligible? Thereis
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               concern that a district did evaluate but did not do a comprehensive evaluation thus not

               finding the student eligible when it appears student should have been.


  Ugh. Not sure what the issue is specifically with 19-0203, which was against West MI Academy of
  Environmental Science.


  Sincerely,


  Marcia O’Briew, Ed S.
  State Complaint Coordinator
  Office of Special Education
  608 West Allegan Street
  Lansing, MI 48909
  (517) 241-7507
  OBrienM6@mi                     an.gov




       LET'S STAY SAFE TOGETHER




  From: Collier, Kristina (MDE) <CollierK1    @ michigan. gov>
  Sent: Wednesday, October 28, 2020 2:52 PM
  To: O'Brien, Marcia (MDE) <OBrienMmichigan.
                                    6@        gov>
  Subject: FW: Complaint CAP question




  Kristine Collier
  Coach and Training Coordinator
  Michigan Department of Education
  Office of Special Education
  P:     517-335-0442
  F:    517-241-7141

  E: CollierK1@michigan.goy
  A: 608 West Allegan Street, Lansing, MI 48933

  ooo




       LETS STAY SAFETOGETHER




  From: Delpy, Lynn (MDE-Contractor) <Delpyl@michigan.gov>
 Case 1:22-cv-00838-RJJ-PJG               ECF No. 86-33, PageID.2145                  Filed 04/10/25        Page 7
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   Sent: Wednesday, October 28, 2020 1:58 PM

   To: Collier, Kristina (MDE) <Collierk1@ michigan. gov>
   Subject: Complaint CAP question


   Hello Kristina,

   There is a question | have been asked about the child find CAPs.        The ISDs are wondering if when
   closing out are they looking for documentation that Child Find obligations mean the district
   followed the child find procedures correctly whether or not they found the student eligible ar does
   in include that during the evaluation did the district complete the evaluations correctly in order to

   find the student eligible? There is concern that a district did evaluate but did not doa
   comprehensive evaluation thus not finding the student eligible when it appears student should have
   been.


   FYI it is with Two different ISD/Districts similar CAPs 19-0188 & 19-0189 and 19-0203
   | just want to give them advice on what they should be looking for when reviewing student files since
   they are asking.
      (The District fulfills its ongoing child find obligation to identify, locate and evaluate students who

   are suspected of having a disability and in need of special education.) (Affarding the Student the
   procedural safeguards contained in the IDEA's discipline provisions far students not determined
   eligible for special education.) ( Not suspecting the Student might be a student with a disability and
   in need of special education.)


   Thank you,
   Lynn Delpy
   Statewide Monitor
   Michigan Department of Education
   Office of Special Education
   Performance Reporting Unit
   Cell: 810-338-2483

delpyl@
gov
 michigan.




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